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IN THE UNITED S‘I‘ATES DISTRICT COURT

mrs r1 V.K,q/_ q o.c.

FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUFJ fo PH 5 33
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WESTERN DIVISION

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W.i_), sir m v,»z£'r\,:-`P

UNITED STATES OF` AMERICA,
Plaintiff,
CR. NO. 05-20070-Ma

VS.

SANDR_A BOYLAND ,
VERONDA JACKSON ,

-._¢-._¢-_.--._--._r-._r\-._r\-._r~._,~_,

Defendants.

 

ORDER ON CONTIN'UANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This Cause came on for a report date on May 3l, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning August l, 2005 at 9:30 a.m., with a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period frmn May 31, 2005 through August 12, 2005 is
excludable under 18 U.S.C. § 3l6l(h)(8)(B}(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

13.§4\

IT IS SO ORDERED this day of June, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE
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with Huie 55 amich 32(b) FHCrP on

 

DRISTIC COURT -WESTER D's'TRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 28 in
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Honorable Samuel Mays
US DISTRICT COURT

